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                  Exhibit 9
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                                          EXPERT DEPOSITIONS

                                                                          DEPOSITION
                 EXPERT                                  PARTY
                                                                             DATE
                 Netz, Janet                              IPPs              11/15/2012
                 Willig, Robert D.                Certain Defendants        1/24/2013
                 Netz, Janet                              IPPs              3/15/2013
                 Leitzinger, Jeffrey                      DPPs              8/22/2013
                 Rao, Mohan                           DAP (Dell)            6/10/2014
                 McClave, James                          DAPs               6/25/2014
                 Howell, Vandy                    Hitachi Defendants        6/26/2014
                 Netz, Janet                              IPPs              6/27/2014
                 Frankel, Alan                           DAPs               7/10/2014
                 Haggard, Stephan                        DAPs               7/10/2014
                 Wu, Lawrence                     Philips Defendants        7/11/2014
                 Klein, Gordon                      LG Defendants           7/16/2014
                 Elzinga, Kenneth                        DAPs               7/17/2014
                 Hausman, Jerry                      DAP (Sharp)            7/23/2014
                 Netz, Janet                              IPPs               9/5/2014
                 Ordover, Janusz (Vol I - II)     Certain Defendants         9/5/2014
                 Rubinfeld, Daniel              Samsung SDI Defendants       9/8/2014
                 Rothman, Dov                    Mitsubishi Defendants      9/11/2014
                 Snyder, Edward                   Toshiba Defendants        9/11/2014
                 Harris, Barry                   Thomson Defendants         9/12/2014
                 Wu, Lawrence                     Philips Defendants        9/12/2014
                 Williams, Darrell               Panasonic Defendants       9/15/2014
                 Carlton, Dennis (Vol I - II)     Certain Defendants        9/16/2014
                 Guerin-Calvert, Margaret         Certain Defendants        9/17/2014
                 Whinston, Michael                   DAP (Sharp)            9/17/2014
                 Elzinga, Kenneth                        DAPs               9/18/2014
                 Howell, Vandy                    Hitachi Defendants        9/18/2014
                 Willig, Robert                   Certain Defendants        9/19/2014
                 Elzinga, Kenneth                        DAPs               10/15/2014
                 Frankel, Alan                           DAPs               10/24/2014
                 Elzinga, Kenneth                        DAPs               10/27/2014


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(CRT) Antitrust Litigation                           1              Case No. 3:07-cv-5944, MDL No. 1917
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                                                               DEPOSITION
                 EXPERT                        PARTY
                                                                  DATE
                 Lys, Thomas                   DAPs              10/29/2014
                 McClave, James                DAPs              10/29/2014
                 Netz, Janet                    IPPs             10/31/2014
                 Hausman, Jerry            DAP (Sharp)           11/3/2014




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(CRT) Antitrust Litigation                 2             Case No. 3:07-cv-5944, MDL No. 1917
